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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION



United States of America,

v.                                       Case No. 1:21-cr-228-MLB

Vikas Singla,

                        Defendant.

_________________________________/


                          OPINION & ORDER

      Defendant, for the second time, asks the Court in two separate

motions to dismiss an indictment the United States obtained against him

charging him with various computer crimes. (Dkts. 68; 69.) He also filed

a host of other motions. (Dkts. 67, 70, 71.) Magistrate Judge Regina D.

Cannon issued an Order and Final Report and Recommendation (R&R),

saying the Court should grant his motion to dismiss Counts One through

Seventeen of his indictment, deny in part and defer in part his motion to

dismiss Count Eighteen, and deny the remaining motions. (Dkt. 90).

Both parties object to different portions of the R&R. (Dkts. 95; 96.) The

Court adopts the R&R as modified herein, sustains the United States’s
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objections, overrules Defendant’s objections, and denies Defendant’s

motions.

I.    Background

      The United States obtained an indictment against Defendant,

charging him with eighteen violations of the Computer Fraud and Abuse

Act of 1986 (CFAA). (Dkt. 1.) The charges involve his alleged attack on

computers at the Duluth and Lawrenceville campuses of the Gwinnett

Medical Center. (Id.) Count One alleges that “[o]n or about September

27, 2018,” Defendant “knowingly caused and attempted to cause the

transmission of a program, information, code, and command, and, as a

result of such conduct, intentionally caused and attempted to cause

damage without authorization to a protected computer – that is, one or

more computers used by Gwinnett Medical Center that operated the

Duluth, Georgia hospital’s Ascom phone system.” (Dkt. 1 ¶ 3.) Counts

Two through Seventeen allege that “[o]n or about September 27, 2018,”

Defendant “knowingly caused and attempted to cause the transmission

of a program, information, code, and command, and, as a result of such

conduct, intentionally caused and attempted to cause damage without

authorization to a protected computer – that is, one or more computers


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used by Gwinnett Medical Center in the Duluth and Lawrenceville,

Georgia hospitals that operated” several printers listed in a table and

identified by brand, model, internal identification number, and IP

address.   (Dkt. 1 ¶ 5.)    Count Eighteen alleges that “[o]n or about

September 27, 2018,” Defendant “intentionally accessed and attempted

to access a computer without authorization and exceeded and attempted

to exceed authorized access to a computer, and thereby obtained and

attempted to obtain information from a protected computer, that is, a

Hologic D2 Digitizer used by Gwinnett Medical Center in the

Lawrenceville, Georgia hospital.” (Dkt. 1 ¶ 6.)

     Defendant previously moved to dismiss the indictment, arguing the

language of the charges lacks the specificity required by the Sixth

Amendment to the United States Constitution and the Federal Rules of

Criminal Procedure. (Dkt. 29.) The Magistrate Judge agreed, concluding

the indictment failed to identify adequately the computers Defendant

allegedly attacked or how he was not authorized to access one of those

computers.   (Dkt. 51.)    The Court rejected the R&R, concluding the

Magistrate Judge failed to consider the descriptive language of the

indictment, and that all of the counts (1) sufficiently identified the


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protected computers at issue, and (2) sufficiently pled Defendant

exceeded (or attempted to exceed) his authorization in accessing the

Hologic D2 Digitizer. (Dkt. 63.) The Court explained, however, that

Defendant “raised a panoply of other arguments against the indictment”

during various hearings and post-hearing briefs that the Magistrate

Judge did not consider. (Dkt. 63 at 10–16.) The Court also “raised

another issue on its own—whether Counts One through Seventeen must

more fully describe how Defendant Singla caused or tried to cause the

transmission of a program, code or command to the computers at issue in

each count,” given that question “was not part of the” R&R. (Dkt. 63 at

16.) The Court said, if Defendant “believes his lingering arguments have

merit, he may pursue them in a separate avenue” before the Magistrate

Judge. (Dkt. 63 at 17.)

     Defendant then filed two renewed motion to dismiss the indictment,

raising his new arguments. (Dkts. 68; 69.) He also filed a motion for a

bill of particulars (Dkt. 71); the early issuance of a subpoena for records

related to victim devices alleged in the indictment (Dkt. 67); and the

disclosure of transcripts and other materials from the grand jury

proceedings that resulted in the indictment (Dkt. 70). Magistrate Judge


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Cannon issued an R&R advising the Court how to dispose of those

motions (Dkt. 90), and both parties objected. (Dkts. 95; 96.)

II.    Standard

       28 U.S.C. § 636(b)(1) requires district courts to “make a de novo

determination of those portions of [an R&R] to which objection is made.”

Any such objection “must specifically identify the portions of the [R&R]

to which objection is made and the specific basis for objection.”

McCullars v. Comm’r, Soc. Sec. Admin., 825 F. App’x 685, 694 (11th Cir.

2020)1; see United States v. Schultz, 565 F.3d 1353, 1360 (11th Cir. 2009)

(“[A] party that wishes to preserve its objection must clearly advise the

district court and pinpoint the specific findings that the party disagrees

with.”).    “Frivolous, conclusive, or general objections need not be

considered by the district court.” Marsden v. Moore, 847 F.2d 1536, 1548

(11th Cir. 1988).

       “It does not appear that Congress intended to require district court




1 The Court recognizes McCullars and other cases cited herein are
unpublished and not binding. The Court cites them nevertheless as
instructive. See Searcy v. R.J. Reynolds Tobacco Co., 902 F.3d 1342, 1355
n.5 (11th Cir. 2018) (“Unpublished cases do not constitute binding
authority and may be relied on only to the extent they are persuasive.”).

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review of a magistrate’s factual or legal conclusions, under a de novo or

any other standard, when neither party objects to those findings.”

Thomas v. Arn, 474 U.S. 140, 150 (1985). And, in most cases, “[a] party

failing to object to [an R&R] waives the right to challenge on appeal the

district court’s order based on unobjected-to factual and legal

conclusions.” McGriff v. Comm’r, Soc. Sec. Admin., 654 F. App’x 469, 472

(11th Cir. 2016). Ultimately, whether or not objections are filed, a district

court “may accept, reject, or modify, in whole or in part, the findings or

recommendations made by the magistrate judge.” 28 U.S.C. § 636(b)(1).

III. Motions to Dismiss Indictment

     Defendant filed two motions seeking to dismiss the charges in his

indictment that—if both were granted—would result in complete

dismissal of the indictment. (Dkts. 68; 69.) His first motion deals with

Counts One through Seventeen. (Dkt. 68.) His second deals with Count

Eighteen. (Dkt. 69.)

     A.    Motion to Dismiss Counts One Through Seventeen

     Defendant says Counts One through Seventeen of the indictment

are constitutionally deficient for three reasons: (1) Count One is

impermissibly vague because it alleges Defendant damaged a phone


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system comprised of hundreds of different protected computers rather

than a single protected computer; (2) Counts One through Seventeen

violate the Fifth Amendment because they each contain an enhancement

improperly charging Defendant with damaging multiple protected

computers in a single count rather than identify a unique, uncharged

protected computer, which he claims is required by the statute; and (3)

Counts One through Seventeen are impermissibly vague because they

fail to identify the particular “program, information, code, or command”

and the alleged “damaged” caused by its “transmissions.” (Dkt. 68.)

     The Sixth Amendment guarantees that “[i]n all criminal

prosecutions, the accused shall enjoy the right . . . to be informed of the

nature and cause of the accusation.” Const. amend. VI. Rule 7 of the

Federal Rules of Criminal Procedure seeks to ensure this by requiring

that an indictment contain a “plain, concise, and definite written

statement of the essential facts constituting the offense charged.” Fed. R.

Crim. P. 7(c)(1). The Supreme Court has said, “an indictment is sufficient

if it, first, contains the elements of the offense charged and fairly informs

a defendant of the charge against which he [or she] must defend, and,

second, enables him [or her] to plead an acquittal or conviction in bar of


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future prosecutions for the same offense.” Hamling v. United States, 418

U.S. 87, 117 (1974); see also United States v. Steele, 178 F.3d 1230, 1233-

34 (11th Cir. 1999) (holding indictment sufficient if it “(1) presents the

essential elements of the charged offense, (2) notifies the accused of the

charges to be defended against, and (3) enables the accused to rely upon

a judgment under the indictment as a bar against double jeopardy for

any subsequent prosecutions of the same offense”). So it may not always

be enough for the United States simply to quote the statutory language

if that language does not adequately inform the defendant of the

accusation he or she must defend. In that case, the United States must

also include “a statement of the facts and circumstances as will inform

the accused of the specific offense, coming under the general description,

with which he [or she] is charged.” Hamling, 124 U.S. at 117–118.

           1.    Identification of Computers in Count One

     First, Defendant says Count One is unconstitutionally vague

because, rather than identify “a particular computer or device that bears

a unique serial number or identifier,” it describes the “protected

computer” as the Ascom phone system, which consists of “a collection of

numerous computers and devices.” (Dkt. 68 at 9–11.) Defendant argues


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this means it is “impossible to discern which, if any, particular computer

[he] is under indictment for having allegedly damaged, let alone which

one out of hundreds the grand jury had in mind when it approved the

charges.”   (Dkt. 68 at 10–11.)         The Magistrate Judge concluded

Defendant’s argument is foreclosed because the Court already decided

Count One adequately defines the “protected computer” he allegedly

damaged.    (Dkt. 90 at 15–16.)    Defendant objects, saying the CFAA

requires that the United States charge him with a “single, specific device”

rather than a “computer system.” (Dkt. 96 at 8.) According to Defendant,

because Count One instead charges him with damaging a system of

multiple computers, it “fails to ensure that the putative ‘protected

computer’ that [Defendant] allegedly damaged in Count One is the same

protected computer for which the grand jury found probable cause to

charge [him], and it fails to ensure that such damage allegedly occurred

in the manner in which the grand jury determined it did.” (Dkt. 96 at

11.) The Court disagrees.

     The Court expressly held in its prior order that “Count One . . .

identifies the specific computer or computers Defendant Singla is alleged

to have damaged or tried to have damaged,” and “[i]t tells him the day on


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which he was alleged to have done that.” (Dkt. 63 at 6–7 (emphasis

added).) Accordingly, it concluded Defendant “has adequate information

to defend against the allegation that, on September 27, 2018, he

transmitted a program or command to the computers used by the

Gwinnett Medical Center to operate the Ascom phone system at the

Duluth Hospital.” (Dkt. 63 at 7 (emphasis added).) Nothing has changed.

     Defendant contends the Magistrate Judge erred because it did not

consider his new “statutory argument,” in which he claims the CFAA

required the United States to “plead a single, specific victim computer to

satisfy the Constitution.” (Dkt. 96 at 13.) The CFAA defines “computer”

as a “high speed data processing device,” and a “protected computer” as,

among other things, “a computer . . . which is used in or affecting

interstate or foreign commerce or communication.”           18 U.S.C. §§

1030(e)(1)–(e)(2). According to Defendant, because the statute defines a

protected computer as a singular “computer” rather than the plural

“computers,” the CFAA allows the United States to charge in a single

count only harm to one computer “and not a group, network, or system of

computers.” (Dkt. 96 at 9.) Regardless of whether the Magistrate Judge

considered (or should have considered) that argument, it fails.


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     The United States Code sets a default rule of statutory construction

that Congress’s use of the singular in a statute includes the plural. 1

U.S.C. § 1 (“In determining the meaning of any Act of Congress, unless

the context indicates otherwise—words importing the singular include

and apply to several persons, parties, or things[.]”). Nothing in the CFAA

suggests Congress intended to foreclose the use of the plural when

defining “computer” and “protected computer.”        Indeed, reading the

CFAA in context, it is clear that the statute specifically contemplates

charging a defendant with damaging multiple protected computers. See

18 U.S.C. § 1030(c)(4)(A)(i)(VI) (providing for higher sentence where

defendant damages “10 or more protected computers”). It does not say

those computers must be charged in different counts.            Defendant

concedes he can identify no case supporting his interpretation to the

contrary. (Dkt. 68 at 9 n.4.) And the way other courts in this circuit have

interpreted “protected computer” confirm Defendant’s reading is wrong.

See, e.g., Lighthouse List Co., LLC v. Cross Hatch Ventures Co., 2013 WL

11977916, at *6 (S.D. Fla. Aug. 9, 2013) (computers, computer systems,

and databases constituted “protected computers”); Continental Grp., Inc.

v. KW Prop. Mgmt., LLC, 622 F. Supp. 2d 1357, 1370 (S.D. Fla. 2009)


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(company’s “computer system” comprised “‘protected computers’” under

the CFAA).2

     At bottom, Defendant’s beef with Count One is grounded in the

same alleged pleading error as before: that the language in Count One

fails to adequately identify the specific “protected computer” he allegedly

damaged and that this ambiguity prevents him from raising due process

claims. But as the Court explained in its prior order, a plain reading of

the indictment adequately informs Defendant that on a particular day—

September 27, 2018—Defendant damaged or tried to damage one or more

computers that control the Ascom phone system at the Duluth hospital

campus.   (Dkt. 63 at 6.)    “Following the resolution of this case, the

indictment allows him to plead double jeopardy to bar any subsequent

allegation that, on or near that day, he sent a program or command to try

to damage those computers.” (Dkt. 63 at 7 (emphasis added).) The Court

overrules Defendant’s objections to the Magistrate Judge’s findings on




2 Although Lighthouse List Co. and Continental Group, Inc. are civil
cases, they dealt with the same provisions of the CFAA defining its terms.
Accordingly, the definition of “protected computer” is the same.

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this issue.3

               2.   Felony-Loss Enhancement

      Defendant next says the indictment is constitutionally infirm

because the United States failed to identify at least one, unique

“protected computer” in the felony-loss provision of 18 U.S.C. §

1030(c)(3)(I). (Dkt. 68 at 11.) He claims the statute requires both proof

of loss to at least one person and loss affecting at least one other

“protected computer” other than the charged computers. (Id.) According

to Defendant, because the indictment requires the United States to prove

only one of those predicates to justify application of the felony-loss

enhancement, he risks being punished twice for “damage” caused to only



3 To the extent Defendant claims the indictment presents a variance issue

(namely, that the grand jury might have had a different computer—or
computers—in mind when it found probable cause to indict him), the
Supreme Court has explained that courts are not to engage in such
guesswork. See Kaley v. United States, 571 U.S. 320, 328 (2014) (“[A]n
indictment ‘fair upon its face,’ and returned by a ‘properly constituted
grand jury,’ we have explained, ‘conclusively determines the existence of
probable cause’ to believe the defendant perpetrated the offense alleged.”)
(citation and internal quotation marks omitted). Like the Magistrate
Judge explained, if Defendant believes the evidence at trial varies from
the charges in the indictment, he can raise this issue at the close of trial.
See United States v. Holt, 777 F.3d 1234, 1261 (11th Cir. 2015) (improper
“variance occurs when the facts proved at trial deviate from the facts
contained in the indictment”) (emphasis added).

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one “protected computer.” (Dkt. 68 at 12.) He also says a merger problem

could arise if the United States relies on the same facts to support the

underlying violation and the enhancement. (Id.) The Magistrate Judge

disagreed, concluding the plain language of the statute shows “the

applicable loss amount can be based on an aggregation of the loss caused

by a defendant’s entire course of conduct,” and that any merger problems

can be addressed after trial. (Dkt. 90 at 18–19.) Defendant objects,

saying the Magistrate Judge misunderstood his argument, that the

authority referenced in the R&R is inapposite, and that waiting to fix the

problem until after trial would “be tantamount to illegally amending the

[i]ndictment.” (Dkt. 96 at 20–27.) This Court disagrees.

     The felony-loss enhancement triggers felony liability if the charged

offense caused, or would have caused if completed:

     [L]oss to 1 or more persons during any 1-year period (and, for
     purposes of an investigation, prosecution, or other proceeding
     brought by the United States only, loss resulting from a
     related course of conduct affecting 1 or more other protected
     computers) aggregating at least $5,000 in value[.]

18 U.S.C. § 1030(c)(3)(I). The provision broadly defines “loss” as “any

reasonable cost to any victim, including the cost of responding to an

offense, conducting a damage assessment, and restoring the data,


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program, system, or information to its condition prior to the offense, and

any revenue lost, cost incurred, or other consequential damages incurred

because of interruption of service.” 18 U.S.C. § 1030(e)(1). “[T]he statute

requires only a total loss amount of $5,000, which can be aggregated

based on the conduct charged along with any relevant course of conduct

during a 1-year period.” Lanam v. United States, 554 F. App’x 413, 417

(6th Cir. 2014); see Eleventh Circuit Pattern Jury Instructions, Criminal,

Offense Instruction 42.3 (2020) (explaining felony-loss enhancement as

“the damage result[ing] in [losses of more than $5,000 during a one-year

period [beginning [date], and ending [date]]”).

     By its plain terms, the statute allows the United States to aggregate

the loss caused by a defendant’s entire course of conduct in reaching the

amount required to trigger felony liability. See Merritt v. Dillard Paper

Co., 120 F.3d 1181, 1185 (11th Cir. 1997) (“In construing a statute [the

court] must begin, and often should end as well, with the language of the

statute itself.”). As correctly noted by the Magistrate Judge, the felony-

loss provision specifically identifies the potential harm a defendant could

cause to multiple “protected computers” during an extended criminal

episode. (Dkt. 90 at 19.) Consistent with this provision, the indictment


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alleges Defendant’s course of conduct against protected computers (either

the charged protected computers or from related, other protected

computers) caused an aggregate loss of at least $5,000. (Dkt. 1 ¶¶ 3, 5

(alleging damage Defendant caused to the charged protected computers

“caused and would, if completed, have caused . . . loss to Gwinnett

Medical Center during the one-year period from [Defendant’s] course of

conduct affecting protected computers aggregating at least $5,000 in

value[.]”).)

      In arguing otherwise, Defendant says Lanam and the Eleventh

Circuit’s Pattern Jury Instructions do not support the Court’s

interpretation because (1) Lanam “does not even address the issue raised

by [Defendant], and merely stands for the unremarkable proposition that

the loss amount can be aggregated over several computers to satisfy the

$5,000 threshold,” and (2) pattern jury instructions are not binding or

precedential. (Dkt. 96 at 21.) Defendant is right, but he misses the point.

While Lanam did not explicitly address whether the United States must

allege a separate and unique protected computer to charge the felony-loss

enhancement, it makes clear what is plain from the language of the

statute: “the statute requires only a total loss amount $5,000, which can


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be aggregated based on the conduct charged along with any relevant

course of conduct during a 1-year period.” 554 F. App’x at 417 (emphasis

added). The pattern jury instruction merely confirms that plain reading.

See United States v. Adkinson, 392 F. Supp. 2d 1378, 1381 (M.D. Ga.

2005) (“The Pattern Jury Instructions are not binding, even though the

Court generally considers them a valuable resource, reflecting the

collective research of a panel of distinguished judges.”).

     Finally, Defendant takes issue with the Magistrate Judge’s

conclusion that “any merger problem” related to the felony-loss

enhancement “can be timely raised following trial or on appellate

review.” (Dkt. 90 at 19.) Defendant says this “would require the Court

to improperly add, by special verdict form and instructions, elements and

facts not alleged in the Indictment and found by the grand jury

concerning the identity of the computer upon which each felony-loss

enhancement is predicated and any alleged loss associated with it.” (Dkt.

96 at 18–19.) According to Defendant, the Court cannot take a “wait and

see approach” to this issue because the same “computers” on which

Counts One through Seventeen are predicated may be the same ones

used by the grand jury to potentially subject Defendant to the felony-loss


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enhancement, thereby punishing him twice for the same conduct. (Dkt.

96 at 23.)        Defendant’s argument, however, is based on the same

misreading of the provision the Court already discussed. If ultimately

(but doubtfully) this raises a merger issue, the Court can address it then.

             3.     “Program, Information, Code, or Command” and
                    “Damage”

     Finally, Defendant says Counts One through Seventeen must be

dismissed because the United States failed to identify the particular

“program, information, code, or command”            Defendant    allegedly

transmitted and the “damage” it purportedly caused. (Dkt. 68 at 13.) He

says “[a]t a minimum” the “indictment should allege . . . a particular

transmission, program, code, or command . . . such as a particular

malware, ransomware, or delete command” and “how each putative

victim protected computer was damaged, such as by disabling or

overwhelming a computer server or program, or corrupting or destroying

a file or data.”     (Id.)   The Magistrate Judge agreed, concluding the

indictment is too unspecific to “inform [Defendant] of the nature of the

offenses he allegedly committed, rendering [it] unconstitutionally vague.”

(Dkt. 90 at 25.) The United States objects, saying the Magistrate Judge

“misunderstands the notice pleading requirements for an indictment”
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and improperly required it to “allege detailed facts for each element of

[the] offense conduct.” (Dkt. 95 at 7–8.)

     The Court determines the sufficiency of an indictment from its face.

United States v. Salman, 378 F.3d 1266, 1268 (11th Cir. 2004). “[C]ourts

give the indictment a common sense construction, and its validity is to be

determined by practical, not technical, considerations.” United States v.

Poirier, 321 F.3d 1024, 1029 (11th Cir. 2003) (citation and internal

quotation marks omitted).        While an indictment must contain a

statement of facts and circumstances sufficient to inform the accused of

the specific offense with which he or she is charged, it need not lay out

every detail of the case. United States v. Sharpe, 438 F.3d 1257, 1263 n.3

(11th Cir. 2006) (“It is not necessary for an indictment . . . to allege in

detail the factual proof that will be relied upon to support the charges.”).

“Ordinarily, ‘an indictment need do little more than to track the language

of the statute charged and state the time and place (in approximate

terms) of the alleged crime.’” United States v. Jenkins, 2022 WL 474704,

at *3 (11th Cir. Feb. 16, 2022) (quoting United States v. Stavroulakis, 952

F.3d 686, 693 (11th Cir. 1992)). “‘[T]he appropriate test . . . is not whether

the indictment might have been drafted with more clarity, but whether


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it conforms to minimal constitutional standards.’” Poirier, 321 F.3d at

1029 (quoting United States v. Varkonyi, 645 F.2d 453, 456 (5th Cir.

1981)).

     In finding the indictment fatally nonspecific, the Magistrate Judge

compared it to indictments in three other cases that contained more

specific information about the kind of “program, information, code, or

command” the defendant allegedly transmitted. (Dkt. 90 at 23–24.) But

just because those indictments contained more detailed information does

not automatically render the indictment here infirm.           While the

Magistrate Judge (and Defendant) might think the indictment could

contain more specific factual allegations, the only question before the

Court is whether the indictment sufficiently puts Defendant on notice

about the criminal conduct with which the United States has charged

him. The indictment charges that on a specific date (September 27,

2018), Defendant engaged in conduct (transmitting a program,

information, code, or command) causing damage to specific protected

computers at specific hospitals run by Gwinnett Medical Center. He cites

nothing saying the CFAA’s terms are so vague they require more

specificity. They are not.


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       A “program, information, code, or command” is something that can

be sent to a computer to make it do something.4 By tracking the statutory

language, the allegations in Counts One through Seventeen thus plainly

charge Defendant with sending instructions to specific computers on

specific days to damage the computers. That is enough to put him on

notice. See United States v. Middleton, 35 F. Supp. 2d 1189, 1191 (N.D.

Cal. 1999) (indictment charging that defendant “knowingly transmitted

code and commands to a computer system” was sufficient because “[t]he

acts with which defendant is alleged to have done are certainly set forth

with adequate particularity, tracking the language of the statute”). No

authority suggests the United States must identify in the indictment the



4See      Program,       MERRIAM-WEBSTER           ONLINE      DICTIONARY,
https://www.merriam-webster.com/dictionary/program (last visited Sept.
6, 2023) (“[A] sequence of coded instructions that can be inserted into a
mechanism (such as a computer)[.]”); Information, MERRIAM-WEBSTER
ONLINE                  DICTIONARY,                  https://www.merriam-
webster.com/dictionary/information (last visited Sept. 6, 2023) (“[A]
signal or character (as in a communication system or computer)
representing data[.]”); Code, MERRIAM-WEBSTER ONLINE DICTIONARY,
https://www.merriam-webster.com/dictionary/code (last visited Sept. 6,
2023) (“[I]nstructions for a computer (as within a piece of software)[.]”);
Command,           MERRIAM-WEBSTER              ONLINE         DICTIONARY,
https://www.merriam-webster.com/dictionary/command (last visited
Sept. 6, 2023) (“[A] line of code [] instructing a computer to send such a
signal[.]”).

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name of the code or instruction Defendant allegedly sent. The Court will

not impose that requirement.

     But, the indictment is even more specific because it alleges exactly

what the “program, information, code or command” Defendant

transmitted did (or attempted to do)—damaged the computers. There is

nothing vague or unclear about the “damage” Defendant is alleged to

have caused. The CFAA expressly and broadly defines “damage” as “any

impairment to the integrity or availability of data, a program, a system,

or information.” 18 U.S.C. § 1030(a)(5)(A).

     Putting all of that together shows the sufficiency of the United

States’s allegations. For Count One, the United States alleges that, on a

specific date, Defendant sent instructions to the computers that operate

the Ascom phone system at the Duluth hospital and thus impaired (or

attempted to impair) the integrity or availability of the Ascom phone

system; and for Counts Two through Seventeen it alleges Defendant sent

instructions to the computers identified in those counts and by doing that

impaired (or attempted to impair) the integrity or availability of each of

the listed printers. It took the United States one sentence to explain this

allegation for Count One at a prior hearing: “the way that the defendant


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damaged the Ascom Phone System was he sent a configuration . . . file to

the server that was then pushed out onto all the handsets that rendered

all the handsets offline and shut down the network.” (Dkt. 62 at 18:10–

14.) Similarly, the United States points to discovery showing Defendant’s

alleged attack rendered the printers unusable. (Dkt. 77 at 19.) Although

this extraneous evidence does not supplement the indictment, it does

show the indictment properly charges the thing Defendant is alleged to

have transmitted and the “damage” Defendant is alleged to have caused.

United States v. Roque, 2013 WL 2474686, at *5 (D.N.J. June 6, 2013)

(“The statutory definition of ‘damage’ may be very inclusive, but it is not

unclear.”)

     In holding otherwise, the Magistrate Judge relied on Russell v.

United States and related cases, saying they show the indictment must

contain more than the date and statutory descriptions of the charged

offense. (Dkt. 90 at 21–22 (citing 369 U.S. 749 (1962).) First, courts—

including the Supreme Court—have made clear that Russell deviates

from generally applicable principles for indictments given the nature of

the charges in that case. See United States v. Resendiz-Ponce, 549 U.S.

102, 110 (2007) (noting charges brought under statute at issue in Russell


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have a “special need for particularity”); United States v. Stringer, 730

F.3d 120, 125–26 (2d Cir. 2013) (“[I]t is clear that the Supreme Court’s

decision in Russell must be seen as addressed to the special nature of a

charge of a refusal to answer questions in a congressional inquiry and not

as a broad requirement applicable to all criminal charges that the

indictment specify how each essential element is met.”). Russell does,

however, properly stand for the proposition that detailed factual

specificity is required in an indictment only where a more general

allegation does not satisfy an element of the charged offense. See United

States v. Huggans, 650 F.3d 1210, 1219 (8th Cir. 2011) (noting specificity

over certain questions defendants allegedly refused to answer was

necessary in Russell because the statute “did not criminalize refusal to

answer non-pertinent questions”). The CFAA is totally different. Its

statutory language contains no confusion as to the nature of the offense

elements, nor does it require specificity to avoid the potential

criminalization of non-criminal conduct. Russell is useless in answering

the questions at issue here.5


5 The other two cases relied upon by the Magistrate Judge similarly
provide no help. United States v. Peterson involved the same issue as
Russell, where the charging language did not clearly allege an element of
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     When read in context, contrary to the Magistrate Judge’s

conclusion, the indictment does not merely provide “generic terms” that

must “descend to particulars” to adequately notify Defendant about the

charges.    (Dkt. 90 at 25.)   The allegations in Counts One through

Seventeen charge Defendant with—on a particular day—knowingly

causing the transmission of a program, code, or command to intentionally

cause damage to the Ascom phone system and to a list of individual

printers.   The indictment does not tell Defendant to look to all the

computer commands in the world, all the commands at Gwinnett Medical

Center, or even all the commands sent to the protected computers.

Rather, the indictment closely constrains to the text of the charges the

set of possible codes and commands and the damage they allegedly

caused to specific computers on or about September 27, 2018.

Defendant’s motion to dismiss Counts One through Seventeen fails.




the offense. See 544 F. Supp. 2d 1363, 1375 (M.D. Ga. 2008). And in
United States v. Tripodis, a fraud indictment failed to specify who exactly
had been defrauded or of what they had been defrauded—two elements
of the charged offenses—even though the United States’s filings
suggested multiple possibilities. 2020 WL 914681, at *3. The indictment
here has neither of these problems.

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     B.    Motion to Dismiss Count Eighteen

     In a separate motion, Defendant asks the Court to dismiss Count

Eighteen on the ground that the provision of the CFAA it charges—18

U.S.C. § 1030(a)(2)(C)—is unconstitutionally vague.       (Dkt. 69.)      The

Magistrate Judge concluded the provision is not vague on its face because

Defendant did not meet his burden of showing “that no set of

circumstances exist under which the [provision] would be valid.” (Dkt.

90 at 27.) Defendant objects, saying § 1030(a)(2)(C) is unconstitutionally

vague because “it purports to criminalize every use of a protected

computer of any person without permission even if the user has no idea

that such permission is needed.” (Dkt. 96 at 28–29.) The Court disagrees

with Defendant.

     A statute or regulation is “void for vagueness if its prohibitions are

not clearly defined.” Grayned v. City of Rockford, 408 U.S. 104, 108

(1972). Criminal statutes must define an offense with such specificity

that “ordinary people can understand what conduct is prohibited and in

a manner that does not encourage arbitrary and discriminatory

enforcement.” United States v. Fisher, 289 F.3d 1329, 1333 (11th Cir.

2002) (citation omitted). “A facial challenge, as distinguished from an as-


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applied challenge, seeks to invalidate a statute or regulation itself.”

United States v. Frandsen, 212 F.3d 1231, 1235 (11th Cir. 2000). A facial

challenge requires the defendant to show “no set of circumstances under

which the [statute] would be valid, or that the statute lacks any plainly

legitimate sweep.” United States v. Stevens, 559 U.S. 460, 472 (2010)

(citations and internal quotation marks omitted); see also SisterSong

Women of Color Reproductive Justice Collective v. Governor of Ga., 40

F.4th 1320, 1327 (11th Cir. 2022). Importantly, however, a criminal

defendant “who engages in some conduct that is clearly proscribed [by

the statute] cannot complain of the vagueness of the law as applied to the

conduct of others.” Stardust, 3007 LLC v. City of Brookhaven, 899 F.3d

1164, 1176 (11th Cir. 2018); see also Kashem v. Barr, 941 F.3d 358, 375

(9th Cir. 2019) (“[A] defendant who cannot sustain an as-applied

vagueness challenge to a statute cannot be the one to make a facial

vagueness challenge to a statute.”).

     18 U.S.C. § 1030(a)(2)(C) prohibits a person from, among other

things, “intentionally access[ing] a computer without authorization or

exceed[ing] authorized access, and thereby obtain[ing] . . . information

from any protected computer.” Defendant emphasizes that applying the


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“without authorization” or the “exceeds authorization access” elements

involves “‘a gates-up-or-down inquiry—one either can or cannot access a

computer system, and one either can or cannot access certain areas

within a system.’” (Dkt. 69 at 3 (quoting Van Buren v. United States, 141

S. Ct. 1648, 1658–59 (2021).) According to Defendant, “nothing in the

statute gives fair notice to the computer user or sufficient guidance to

federal prosecutors and agents enforcing the statute as to when such

gates are ‘up-or-down,’” authorizing criminal prosecution against

potentially innocent users who “wander[] into an unprotected area of a

computer that does not belong to him [or her].” (Dkt. 69 at 4.) But

Defendant’s argument that there may be some hypothetical cases where

§ 1030(a)(2)(C) is harder to apply does not mean the provision is

unconstitutionally vague as applied to him or her.        The indictment

properly alleges Defendant committed acts that § 1030(a)(2)(C) clearly

makes criminal—that is, that he intentionally accessed without

authorization (or exceeded any authorized access to) the Hologic R2

Digitizer and obtained information from that computer.          Defendant

cannot feign he did not know his level of authorization to access that

computer because—as discussed in more detail below—he had no


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business with the hospital or any right whatsoever to access the

computer. Defendant cannot raise a facial vagueness challenge to §

1030(a)(2)(C).

     In arguing otherwise, Defendant says the Supreme Court has

recently held that an otherwise impermissibly vague provision is not

rendered constitutional “‘merely because there is some conduct that

clearly falls within the provision’s grasp.’”    (Dkt. 96 at 29 (quoting

Johnson v. United States, 576 U.S. 591, 602 (2015).)6 But regardless of

whether Johnson overruled the “vague-in-all-its-applications standard,”

it did “not jettison the [] rule” “prohibiting defendants whose conduct a



6 In holding Defendant had not met his burden to show § 1030(a)(2)(C)

vague on its face, the Magistrate Judge relied only on the standard from
Stevens that a statute is not facially vague if it can be applied
constitutionally in even a single case. It appears Johnson did away with
that standard. See 576 U.S. at 602 (“[A]lthough statements in some of
our opinions could be read to suggest otherwise, our holdings squarely
contradict the theory that a vague provision is constitutional merely
because there is some conduct that clearly falls within the provision’s
grasp.”) (emphasis in original). After Johnson, however, the Eleventh
Circuit has still relied on that standard in concluding certain statutes are
not impermissibly vague. See, e.g., United States v. Gruezo, 66 F.4th
1284, 1293 (11th Cir. 2023); SisterSong, 40 F.4th at 1327. If that
standard is still good law, the Magistrate Judge was right in finding
Defendant’s facial challenge fails because he did not show there is no set
of circumstances under which § 1030(a)(2)(C) would be valid. But even if
it is not, Defendant’s argument fails for the reasons discussed above.

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statute clearly proscribes from bringing vagueness challenges.” United

States v. Hasson, 26 F.4th 610, 619 (4th Cir. 2022). Defendant’s facial

challenge still fails.

IV.    Motion for Bill of Particulars

       Defendant moves in the alternative for a bill of particulars, saying

the indictment “fails to provide facts sufficient to enable [him] to prepare

his defense and avoid the possibility of prejudicial surprise at trial.” (Dkt.

71 at 1.) The Magistrate Judge concluded that, because the United

States already provided Defendant with all the information he seeks, “he

has failed to establish that a bill of particulars is required to allow him

to prepare his defense, minimize the risk of prejudicial surprise, or

prevent him from pleading double jeopardy in the future.” (Dkt. 90 at

36.) Defendant objects, arguing that the United States did not provide

adequate information in response to each piece of information he seeks.

(Dkt. 96 at 30–37.)

       Rule 7 of the Federal Rules of Criminal Procedure allows a court to

direct the United States to file a bill of particulars. Fed. R. Crim. P. 7(f).

“The purpose of a bill of particulars is to inform the defendant of the

charge against him with sufficient precision to allow him to prepare his


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defense, to minimize surprise at trial, and to enable him to plead double

jeopardy in the event of a later prosecution for the same offense.” United

States v. Warren, 772 F.2d 827, 837 (11th Cir. 1985). “A request for a bill

of particulars is, inter alia, befitting in those instances where the

defendant seeks further clarity and precision with regard to the charges

that he is facing in order to adequately prepare a defense.”              Id.

“[G]eneralized discovery”, however, “is not the proper function of a bill of

particulars.” Id. A defendant is not entitled to a bill of particulars “with

respect to information which is already available through other sources

such as the indictment or discovery and inspection.” United States v.

Rosenthal, 793 F.2d 1214, 1227 (11th Cir. 1986).         Nor can a bill of

particulars “be used as a weapon to force the government into divulging

its prosecution strategy.” United States v. Burgin, 621 F.2d 1352, 1359

(5th Cir. 1980). For these reasons, a bill or particulars is also not a

vehicle by which a defendant can force the United States to answer all of

his or her questions about the United States’s case, its evidence, or its

theories of prosecution.

     A.    Protected Computer

     Defendant requests identification of the particular “protected


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computer” described in Count One. (Dkt. 71 at 9.) The Magistrate Judge

concluded the United States “already identified (and [this Court]

affirmed) the ‘protected computer’ as to computer or computers that

operate the Duluth hospital’s Ascom phone system.” (Dkt. 90 at 34.)

Defendant says this was error because—like he argued in his motion to

dismiss Count One—“a ‘system’ is not the same thing as a ‘computer’

under the CFAA, and the [United States] has only identified the former

and not the latter.” (Dkt. 96 at 31.) Defendant’s argument fails for the

same reasons the Court described above and in its prior order.

      Defendant also requests identification of the “other” protected

computer that supports the felony-loss enhancement in Counts One

through Seventeen. (Dkt. 96 at 31.) It appears the Magistrate Judge did

not address this argument. Regardless, it fails because—as the Court

already concluded—the United States did not have to identify a separate,

unique protected computer for the felony-loss enhancement to apply. The

United States properly alleged Defendant caused loss to Gwinnett

Medical Center of at least $5,000 in value (during the one-year period)

from his course of conduct effecting the protected computers. (Dkt. 1

¶¶ 3, 5.)


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     Finally, Defendant points out that the Court ruled the indictment

“adequately alleges the identity of the protected computer” in Count

Eighteen (a Hologic R2 Digitizer), but says “neither the [i]ndictment nor

the discovery seems to identify which computer [Defendant] is alleged to

have access without authorization, and whether that computer is a

different computer from the protected computer.” (Dkt. 71 at 14–15.)

Defendant seems to be looking for a problem where there is none or

perhaps refusing to comprehend the simple language of the charge.

Count Eighteen identifies only one computer “that is, a Hologic R2

Digitizer used by Gwinnett Medical Center in the Lawrenceville, Georgia

hospital.” (Dkt. 1 ¶D 7.) Clearly, the United States alleges it is the

computer Defendant accessed without authorization and the protected

computer. There can be no other conclusion. Defendant, conceding the

obvious, declares the United States has “clarified in its briefing below

that the computer that [Defendant] allegedly accessed and the computer

from which he allegedly obtained information are the same computer”—

that is, the Hologic R2 Digitizer. (Dkt. 96 at 31.) He says “[a]s a result,

the [United States] would suffer no prejudice from committing to this

information in a bill of particulars.” (Id.) But that is not the test, nor is


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it the point of a bill of particulars. Defendant clearly does not need this

information in a bill of particulars to adequately prepare a defense

because he concedes he has that information.

     B.    Interstate Commerce

     Next, Defendant says the indictment does not allow him to evaluate

why or how any charged protected computer is alleged to have been “‘used

in or affecting interstate or foreign commerce or communication’ at the

time of the alleged offense.”     (Dkt. 71 at 10 (quoting 18 U.S.C. §

1030(e)(2)(B)).) Specifically, he argues as to Count One that, even though

the United States provided him discovery showing the Ascom phone

system was connected to the internet at the time of the offense, it

improperly “speaks in terms of the entire system” rather than “the

specific device at issue.”   (Dkt. 71 at 11.)   As the Magistrate Judge

concluded, that argument fails for the same reasons as before.

     As to Counts Two through Seventeen, it appears the Magistrate

Judge did not expressly address Defendant’s contention that “[n]either

the [i]ndictment nor the discovery appears to provide information

sufficient to evaluate why or how each of the [Gwinnett Medical Center]

printers . . . were used in or affecting interstate commerce at the time of


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the offense.” (Dkt. 71 at 13.) He says he “has been unable to locate any

logs or network infrastructure information in the discovery illustrating

internet connectivity as to the printers, and no discovery on [Gwinnett

Medical Center’s] engagement in interstate commerce appears to have

been provided.” (Id.) Similarly, as to Count Eighteen, he says he has no

discovery showing that the Hologic R2 Digitizer is connected to the

internet or somehow used in interstate commerce. (Dkt. 71 at 15–16.)

     Defendant’s argument on this front fails for two reasons. As a

threshold matter, the indictment alleges that the computers at issue in

each count were “protected computers,” which is defined to mean, among

other things, a computer “used in or affecting interstate or foreign

commerce.” See 18 U.S.C. § 1030(e)(2)(B). Defendant cites no authority

to suggest the United States must explain in any detail how the

computers impacted interstate commerce. Given the importance of an

interstate nexus in many federal crimes (including Hobbs Act charges,

firearm offense, carjacking crimes, wire and mail fraud charges, child

exploitation crimes, bank fraud crimes, and so many more) it would be

strange if the United States had to allege details of the connection to

interstate commerce in every instance. The United States has alleged


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the computers were used in or affected interstate commerce and will have

to prove that. That Defendant explains ways in which the United States

could prove the interstate commerce component shows he understands

how to prepare a defense to that element. (Dkt. 71 at 10–11, 15–16

(explaining computers—including those alleged in Counts Two through

Eighteen—would qualify if they were connected to the internet or

“somehow used in interstate commerce by virtue of the healthcare

business”).)     While he may not yet have located “logs or network

infrastructure information in the discovery illustrating internet

connectivity,”    information   about    “[Gwinnett   Medical    Center’s]

engagement in interstate commerce,” or documents showing “how the

Hologic R2 Digitizer is connected to the internet or somehow used in

interstate commerce” he clearly understands the United States’s burden

of showing such connectivity. Of course, if the United States has not

timely produced such records it will not be permitted to introduce them

at trial.

      C.    Damage

      Defendant next requests specificity as to the “damage” element for




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Counts Two through Seventeen. (Dkt. 71 at 13–14.)7 Specifically, he says

“neither the [i]ndictment nor the discovery appears to contain

information about how or the extent to which any [Gwinnett Medical

Center] printer is alleged to have been damaged as a result of the

incident.” (Dkt. 71 at 13.) But, as the Magistrate Judge explained, the

United States pointed to discovery identifying the damage Defendant

allegedly caused when he attacked the network printers: “the attack on

the network printers caused patient health information and the

threatening message ‘WE OWN YOU!’ to be printed from the network

printers.” (Dkt. 77 at 19.) Defendant says this does not “shed any light

on whether or how this allegedly resulted in ‘impairment to the integrity

or availability of data, a program, a system, or information’ as required

by the CFAA.” (Dkt. 96 at 33 (quoting 18 U.S.C. § 1030(e)(8).) But

Defendant then goes on to list a number of ways the United States might




7 Defendant says in his objections that he also requests a bill of
particulars as to the damage element in Count One. (Dkt. 96 at 29.) He
did not make such a request in his motion. And—contrary to his
assertion—the Magistrate Judge did not address it in the R&R. In any
event, his only argument as to Count One is the same as before—namely,
that the United States improperly identifies a system rather than a
particular computer. This argument fails for the reasons states.

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prove Defendant’s alleged attack impaired the printers, including by

showing the printers were unavailable “while they were actually printing

the alleged print jobs” or that the printers’ data was impacted. (Id.)

Defendant has clearly identified ways in which the United States could

seek to prove this element of the offense. Although Defendant may prefer

more detailed information regarding the United States’s theory, he is not

entitled to “detailed exposition of [the United States’s] evidence” or “the

legal theories upon which it intends to rely at trial.” United States v.

Roberts, 174 F. App’x 476, 477 (11th Cir. 2006) (citation omitted).

     D.    Loss

     Defendant next contends he is entitled to more detailed information

about the specific losses he is alleged to have caused in Counts One

through Seventeen. (Dkt. 71 at 11–12, 14.) But, as he concedes, the

United States gave him a summary “showing a total loss amount and

line-items for categories such as legal fees, consulting fees, and lost

employee time.” (Dkt. 71 at 11.) It is unclear what more he wants. He

complains this information is “merely generic, aggregate information

untethered to any particular computer.” (Dkt. 96 at 34.) But he points

to no authority saying the United States must—in a bill of particulars—


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itemize the losses it alleges Defendant caused or categorize it by each

computer he allegedly damaged.

     E.    Medical Care Enhancement

     Defendant also requests specific information about “any actual or

potential impact of the alleged incident on patient care.” (Dkt. 71 at 12.)

As the Magistrate Judge explained, the United States has provided

discovery showing that the Ascom phone system was “critical . . . for the

hospital and patient care.” (Dkt. 77 at 21.) Similarly, discovery describes

how the alleged attack required that Defendant “pull[] for quarantine

and review” its printers after they began printing patient health

information and referenced certain print jobs as impacting patient care.

(Id.) And—to state the obvious—common sense dictates that the devices

owned and used by a hospital (including those used by staff members to

communicate with one another) may have an actual or potential impact

on patient care.

     F.    Unauthorized       Access     and   Exceeding     Authorized
           Access

     Finally, Defendant says he needs specific information about “how

or whether [Defendant’s] initial access was without authorization, how

[Defendant] exceeded or attempted to exceed authorized access, what
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notice [Gwinnett Medical Center] provided to inform [Defendant] that his

alleged access was unauthorized or exceeded authorized access, and how

or why he was not entitled to obtain the information that he allegedly

obtained.”   (Dkt. 71 at 15.)    The Magistrate Judge concluded that

Defendant “cannot feign surprise regarding his professional association

with [Gwinnett Medical Center] or the boundaries of his access to its

communication systems,” given that he was not an employee, did not

have any business with Gwinnett Medical Center, and had no lawful

reason to access Gwinnett Medical Center’s network or to obtain and

publish patient information. (Dkt. 90 at 36.) Defendant contends the

Magistrate Judge erred on this front because Gwinnett Medical Center

“appears to have left its facility and its network open to the public at all

hours of the day and night,” and the United States did not provide any

information about authentication features or other barriers, warnings, or

notices Defendant allegedly received, or contractual access limitations of

which he was aware. (Dkt. 96 at 36.)

     Defendant’s argument belies common sense. The Court already

held the indictment did not have to explain the “professional relationship

[Defendant] had (if any) with [Gwinnett Medical center], to what extent


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he had access to [Gwinnett Medical Center’s] internal network, or to what

degree he exceeded his authority while accessing [Gwinnett Medical

Center’s] network.”     (Dkt. 63 at 10–11.)      It explained “[t]he term

‘authorization’ has a simple meaning,” and that “the United States is

saying (as one alternative) that [Defendant] had no permission or

approval to access the Hologic R2 Digitizer on September 27, 2018,” and

that, to the extent he did, “he exceeded the scope of his permission by

accessing information he had no right to access.” (Dkt. 63 at 11.) This

puts Defendant “on notice of what he was alleged to have done.” (Dkt. 63

at 12.) That is all that is required.

V.    Motion for Early Issuance of Rule 17(c) Subpoena

      Defendant asks the Court for early issuance of a subpoena to seek

four categories of documents: (1) firewall activity logs relating to any

Gwinnett Medical Center computer or device alleged in the indictment

during the alleged attack; (2) reports of any third-party breach response

or breach remediation consultants on the causes of the alleged attack; (3)

documents concerning any cybersecurity incidents at Gwinnett Medical

Center prior to the alleged attack; and (4) detailed information regarding

Gwinnett Medical Center’s breach response and remediation expenses.


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(Dkt. 83.) He says, given the “highly technical nature” of the evidence in

this case, he needs early disclosure to allow him to prepare his defense,

enable his experts to examine the documents, and avoid delaying trial.

(Dkt. 83 at 6.) For various reasons, the Magistrate Judge concluded he

was not entitled to any of this information. (Dkt. 90 at 41–42.) Defendant

objects. (Dkt. 96 at 37–48.)

     Rule 17 of the Federal Rules of Criminal Procedure allows a court

to issue a subpoena ordering a witness to produce information and

documents “before trial or before they are to be offered in evidence.” Fed.

R. Civ. P. 17(c)(1). To obtain early production, the party seeking the

information must show:

     (1) that the documents are evidentiary and relevant; (2) that
     they are not otherwise procurable reasonably in advance of
     trial by exercise of due diligence; (3) that the party cannot
     properly prepare for trial without such production and
     inspection in advance of trial and that the failure to obtain
     such inspection may tend unreasonably to delay the trial; and
     (4) that the application is made in good faith and is not
     intended as a general “fishing expedition.”

United States v. Nixon, 418 U.S. 683, 699–700 (1974). Rule 17 “only

reaches specifically identified documents that will be admissible as

evidence at trial, provided that the application for the subpoena is made

in good faith.” United States v. Silverman, 745 F.2d 1386, 1397 (11th Cir.
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1984). It is “not intended to provide an additional means of discovery for

any party in criminal cases.” Id. Nor can it be used “as a means for

developing investigative leads which would lead to evidence producible

at trial.” United States v. Noriega, 764 F. Supp. 1480, 1492 (S.D. Fla.

1991).

     A.    Firewall Activity Logs

     Defendant says it needs “[f]irewall activity logs respecting any

[Gwinnett Medical Center] computer or device alleged in the Indictment

during the 2018 incident” because “it is standard operating procedure in

every breach remediation investigation for them to be collected and

revised   and   the   logs   contain    information   that   will   exculpate

[Defendant].” (Dkt. 67 at 6.) Should those records not exist, Defendant

says, Gwinnett Medical Center should be required to “formally confirm

that it destroyed or failed to preserve them.”        (Dkt. 67 at 7.)     The

Magistrate Judge concluded there “is no good faith basis for issuance of

a subpoena for these records” because the United States “already

informed [Defendant] that neither it nor [Gwinnett Medical Center] are

in possession of these records.” (Dkt. 90 at 41.) Defendant argues the

Magistrate Judge erred by allowing the United States “to stand in the


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shoes of a non-party witness (here, [Gwinnett Medical Center]) in order

to shield that witness from the obligation of conducting its own diligent

search for relevant records, or even from providing some representation

of its own that it has been unable to locate such records after conducting

a diligent search.” (Dkt. 96 at 40.)

     Defendant’s request for the firewall logs (which he cannot be sure

even exist) or for Gwinnett Medical Center to confirm under oath that it

does not have them is tantamount to asking for broad non-party

discovery. Indeed, it is the exact sort of “fishing expedition” to “develop[]

investigative leads” that is improper under Rule 17. Defendant cannot

use Rule 17 to force the victim in this case to cobble together unspecified

information that it may not even have or to produce an attestation as to

its lack of documentation. See United States v. Cory, 2022 WL 997336,

at * 4 (M.D. Fla. Apr. 1, 2022) (“[I]ssuing a subpoena under Rule 17(c)

based on Defendant’s good faith belief and the possibility that materials

exist is not enough.”) (emphasis in original).      The Court adopts the

Magistrate Judge’s determination Defendant is not entitled to the early

issuance of Rule 17(c) subpoenas.




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      B.   Third-Party Reports

      Next, Defendant requests “[a]ny” breach reports from third-party

experts or consultants on a broad range of topics. (Dkt. 67 at 7.) He says

he needs these reports to ensure Defendant “is not being accused of

causing damage or being held responsible for remediation costs that are

actually due to other causes.” (Id.) The Magistrate Judge concluded

Defendant’s request fails because it “is so broad that it fails to comport

with the requirement that the subpoena target ‘specifically identified

documents.’” (Dkt. 90 at 42 (citing United States v. Arditti, 955 F.2d 331,

346 (5th Cir. 1992).)   Defendant argues the Magistrate Judge erred

because “‘breach report’ is a term of art that is understood by information

technology professionals . . . to be a single, specific document.” (Dkt. 96

at 42.)

      Defendant’s request for any potential report of a third-party

consultant or expert is plainly overbroad. Even if “breach report” is a

term of art that might refer to a single document, Defendant’s request

makes clear that he does not know if such a report even exists. That

Defendant asks for “any” breach report and, in the alternative, for “notes,

presentations or workpapers functioning as the equivalent of such


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report” (Dkt. 67 at 7), makes clear that Defendant has no specific breach

report in mind and attempts to improperly use Rule 17 “as a discovery

device.” Arditti, 955 F.2d at 346 (citation omitted).

     C.    Prior Cybersecurity Incidents

     Defendant also requests “[d]ocuments concerning any cybersecurity

incidents at [Gwinnett Medical Center] prior to the 2018 incident.” (Dkt.

67 at 8.) He says it has been “publicly reported” that Gwinnett Medical

Center has suffered cyberattacks in the past, but that the United States’s

discovery “omits any information about any other cybersecurity incidents

or issues at [Gwinnett Medical Center], ever.” (Dkt. 67 at 9 (emphasis

omitted).) According to Defendant, without this information, he “has no

way of testing whether the [United States] has mistakenly attributed the

conduct of others to him, and whether it is employing overinclusive cost

estimates that include remediation costs associated with prior, unrelated

incidents.” (Id.) The Magistrate Judge concluded “this request lacks

specificity and is of limited relevancy given [Defendant’s] mere

assumption that [Gwinnett Medical Center] previously suffered the same

harm alleged in the instant case.” (Dkt. 90 at 42.) Defendant argues his

request is limited by the language of the proposed subpoena, which says


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it seeks “[d]ocuments sufficient to show any cybersecurity incidents at

[Gwinnett Medical Center] in the five year period prior to the 2018

incident,” that “cybersecurity incidents” is a term of art, and that the

information is relevant to rebut the United States’s contention he is

responsible for “all of [Gwinnett Medical Center’s] problems and

remediation costs.” (Dkt. 96 at 44.)

     Regardless of the limiting language in the proposed subpoena,

Defendant again tries to use Rule 17 to improperly engage in discovery.

Defendant’s request seeks information about incidents he does not even

know have occurred.8 And even if they did, he does not know whether

they were the same types of attacks the United States alleges he

committed in this case.      This request is just another example of

Defendant’s attempts to use Rule 17 to go on an unwarranted fishing

expedition. See United States v. Cole, 755 F.2d 748, 759 (11th Cir. 1985)



8 Defendant says “[i]t has been publicly reported that [Gwinnett Medical

Center] experienced a debilitating malware attack in late 2011,” citing a
news article. (Dkt. 67 at 9.) But he claims his proposed subpoena is not
overbroad because it is limited to information about cybersecurity
incidents that took place within five years before the alleged attack in
2018. So, the only specific cybersecurity incident he references took place
outside the timeframe of the subpoena and cannot serve as the basis for
any specific document he seeks.

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(unsubstantiated allegations do not satisfy particularized need standard

under Rule 17).

     D.    Breach Response Expenses

     Finally, Defendant requests “[r]ecords of [Gwinnett Medical

Center’s] reasonable attorneys’ fees, consultant fees, and other costs”

related to responding to and remediating the alleged attack. (Dkts. 67 at

9; 67-1 at 3.) The Magistrate Judge concluded this request is “so broadly

drafted that it fails to meet the specificity standard Rule 17 requires,”

particularly because it not only seeks “detailed information” about

Gwinnett Medical Center’s breach response, but also “receipts, invoices,

billing narrative, payment records and related correspondence.” (Dkt. 90

at 43.) According to the Magistrate Judge, this “could arguably include

attorney/client privileged materials, emails, and text messages.” (Id.)

Defendant again argues the request is “cabined by the limiting language”

in the proposed subpoena, that it “could conceivably be satisfied simply

via production of the billing invoices for the short period during and after

the 2018 attack” for third parties Gwinnett Medical Center engaged, and

that attorney billing invoices are routinely produced in similar cases.

(Dkt. 96 at 45–46.)


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       Defendant’s request is overly broad for the same reasons as his

other requests. Contrary to his argument, his request is in no way

limited to the billing invoices he now claims it is. Like with all of his

requests, this one is a “scattershot, dragnet attempt[] to discover

evidence not presently known to exist.” United States v. Winner, 2018

WL 1998311, at *2–3 (S.D. Ga. Apr. 27, 2018).

       Defendant asks, in the alternative, for the Court to modify his

proposed subpoena such that his requests are no longer overbroad. (Dkt.

96 at 48.) As it stands, those requests are so overbroad and inappropriate

under Rule 17 that the Court cannot even see how it would do that. Nor

does Defendant offer his own proposal.            The Court assesses the

appropriateness of Defendant’s subpoena request based upon what he

requested, not hypothetical limitations he includes as argument in

attacking the Magistrate Judge’s conclusion. It is not the Court’s role or

responsibility to pare down an overly broad and improper request to the

proper scope. That is Defendant’s role. His motion for early Rule 17(c)

subpoenas fails in its entirety.

VI.    Motion to Compel Disclosure of Grand Jury Transcripts

       Defendant moves the Court to compel the disclosure of grand jury


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transcripts because he believes the United States failed to properly

instruct and advise the grand jurors as to the applicable law and facts

regarding certain elements of the CFAA. (Dkt. 70 at 3.) The Magistrate

Judge    concluded    Defendant’s    “unsubstantiated     allegations     of

impropriety concerning the nature of the evidence and the instructions

presented to the grand jury fail to overcome the presumption of secrecy”

given to grand jury proceedings. (Dkt. 90 at 48.) Defendant objects,

saying “the wildly incorrect legal positions adopted by the [United States]

on several important statutory interpretation issues under the CFAA”

and the indictment’s purported pleading errors warrant “ordering the

[United States] to disclose its instructions and legal advice to the grand

jury to determine if these critical errors . . . render [Defendant’s]

indictment invalid and due to be dismissed.” (Dkt. 96 at 49.) Defendant

is wrong.

     “It has been a long-standing policy of the law that grand jury

proceedings should be kept secret and only disclosed in limited

circumstances.” United States v. Aizenberg, 358 F.3d 1327, 1346 (11th

Cir. 2004).   To that end, Rule 6 of the Federal Rules of Criminal

Procedure prohibits individuals involved in grand jury proceedings—


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including the grand jurors themselves—from disclosing matters

“occurring before the grand jury.” Fed. R. Crim. P. 6(e)(2)(B). Rule 6 also

provides for certain exceptions under which a court may authorize

disclosure of grand jury materials. Pertinent here, the court may disclose

“a grand-jury matter . . . at the request of a defendant who shows that a

ground may exist to dismiss the indictment because of a matter that

occurred before the grand jury.”     Fed. R. Crim. P. 6(e)(3)(E)(ii).     A

defendant attempting to rely on this exception must show “a compelling

and particularized need for disclosure.” Aisenberg, 358 F.3d at 1348. A

defendant’s “unsubstantiated allegations of grand jury manipulation do

not satisfy the ‘particularized need’ standard.” Cole, 755 F.2d at 759.

“Additionally, a blanket request for all grand jury materials cannot be

described as the kind of particularized request for the production of

otherwise secret information.” Beiter v. United States, 2023 WL 1980773,

at *2 (11th Cir. Feb. 14, 2023) (citing Aisenberg, 358 F.3d at 1349).

     Defendant asks for an extraordinary amount of secret information:

     (1) transcripts of the prosecutors’ instructions to the grand
     jury and any physical documents provided to the grand jury
     that constitute such instructions, (2) transcripts of the
     prosecutors’ advice and explanation of such instructions to the
     grand jury, (3) transcripts of testimony of any witness on the
     “protected computer,” “transmission,” and “damage”
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     elements, and (4) any exhibits or other documents provided to
     the grand jury that are necessary to understand said
     testimony    relevant    to    the    “protected  computer,”
     “transmission,” and “damage” elements.

(Dkt. 70 at 8.) In essence, Defendant asks for “all grand jury materials.”

It is hard to imagine what else he could ask for. So, his request certainly

is not particularized. And even if it were, Defendant has not come close

to showing a compelling need for the material.         He offers only his

contention that—based on its pre-trial briefing, legal arguments, and the

indictment—the United States erroneously interpreted the CFAA, and

therefore “must have” incorrectly instructed the grand jury regarding the

elements of the offense. (Dkt. 70 at 1–2.) He offers nothing to support

his theory that the grand jury was misinstructed. This is precisely the

sort of unsubstantiated, purely speculative allegation that cannot

support the very high bar for disclosure. Defendant is not entitled to any

grand jury material.9




9 Defendant asks alternatively for the Court to examine the grand jury

materials in camera to determine if the United States incorrectly
instructed the grand jury. (Dkt. 96 at 51.) Given that Defendant does
not even come close to meeting the standard required for disclosure, the
Court concludes in camera review is not warranted.

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VII. Conclusion

     The Court SUSTAINS the United States’s Objections (Dkt. 95),

OVERRULES Defendant’s Objections (Dkt. 96), and ADOPTS IN

PART and REJECTS IN PART the Magistrate Judge’s R&R (Dkt. 90).

The Court DENIES Defendant’s Motion for Early Issuance of Rule 17(c)

Subpoena (Dkt. 67), Motion to Dismiss Indictment for Lack of Specificity

(Dkt. 68), Motion to Dismiss Count 18 of the Indictment as

Unconstitutionally Vague (Dkt. 69), Motion to Compel of Disclosure of

Grand Jury Transcripts (Dkt. 70), and Motion for Bill of Particulars (Dkt.

71). The Court SETS a status conference for September 19, 2023, at

10:00 a.m., to take place before the Honorable Michael L. Brown, in

Courtroom 1906, Richard B. Russell Federal Building, 75 Ted Turner

Drive, SW, Atlanta, Georgia 30303. The time between the date of this

Order and the status conference shall be excluded in calculating the date

on which the trial of this case must commence under the Speedy Trial

Act. The Court finds that the delay is for good cause and the interests of

justice outweigh the right of the public and the right of the defendant to

a speedy trial, pursuant to 18 U.S.C. § 3161, et seq.




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 SO ORDERED this 12th day of September, 2023.




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